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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

XTRIA LLC,                              §
                                        §
                       Plaintiff,       §
                                        § Civil Action No. 3:07-CV-0160-D
VS.                                     §
                                        §
TRACKING SYSTEMS, INC.,                 §
                                        §
                       Defendant.       §

                             MEMORANDUM OPINION
                                  AND ORDER

        Following a bench trial and the Fifth Circuit’s decision

reversing and remanding this court’s judgment in favor of defendant

Tracking Systems, Inc. (“TSI”), TSI moves to amend its answer to

plead    the   affirmative    defense       of   release   and   to   assert     a

counterclaim for breach of contract. Plaintiff Xtria LLC (“Xtria”)

opposes the motion.    For the reasons that follow, the court grants

the motion to the extent TSI seeks leave to plead the affirmative

defense of release, and it denies the motion to the extent TSI

requests leave to assert a counterclaim for breach of contract.

                                        I

        The background facts and procedural history of this case are

set out in this court’s prior memorandum opinions and orders and

need not be repeated at length.             See, e.g., Xtria LLC v. Tracking

Sys., Inc., 2008 WL 4692855, at *1 (N.D. Tex. Oct. 23, 2008)

(Fitzwater, C.J.) (“Xtria II”), rev’d and remanded, 345 Fed. Appx.

940, 943 (5th Cir. 2009).       Xtria sues TSI for breach of contract

arising from conduct by International Insurance Alliance, Inc.
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(“IIAI”) that Xtria contends violated a Settlement Agreement and

Release    (“Settlement      Agreement”)          between    Xtria   and     TSI.       In

deciding       TSI’s   motion     to    dismiss,     the     court   held    that      the

Settlement      Agreement    was       ambiguous     concerning      TSI’s    material

obligations regarding the conduct of IIAI.                        See Xtria LLC v.

Tracking Sys., Inc., 2007 WL 2719884, at *4 (N.D. Tex. Sept. 18,

2007) (Fitzwater, C.J.) (“Xtria I”).                The case then proceeded to a

bench trial. During the trial, the court granted TSI’s request for

a trial amendment to add the affirmative defense of release.                           The

court entered judgment in favor of TSI, finding that Xtria failed

to carry its burden to establish that TSI breached the Settlement

Agreement; the court did not reach the merits of TSI’s affirmative

defense.       See Xtria II, 2008 WL 4692855 at *1 n.2 (“Because the

court finds in TSI’s favor on this basis, it need not consider the

affirmative       defense    of        release    that      TSI   raised     by     trial

amendment.”).

        Xtria appealed, and the Fifth Circuit reversed and remanded.

It held that the Settlement Agreement was not ambiguous, as this

court    had    concluded,      and     that   Xtria’s      interpretation        of   the

unambiguous agreement was correct.                See Xtria LLC v. Tracking Sys.

Inc., 345 Fed. Appx. 940, 943-44 (5th Cir. 2009) (“Xtria III”). In

its mandate, the Fifth Circuit directed this court on remand to

conduct further proceedings in accordance with the Fifth Circuit’s

opinion.        That opinion provides that this court must conduct


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“further proceedings on the issues of breach and damages.”             Id. at

944.

       After the mandate was docketed in this court, the court

directed the parties to advise the court of the proceedings that

should be conducted on remand and of a proposed schedule, advise

the court concerning the status of settlement and the advisability

of referring the case to mediation, and include any other matters

that a party believed would assist in bringing this case to a

prompt resolution.      Before the parties filed the status report,

Xtria filed a second motion for summary judgment.                 Because the

motion deadline had expired before the case was tried and the court

intended to consider the joint status report before imposing a new

motion deadline, and because Xtria had not sought leave to file

more than one motion for summary judgment, the court advised TSI by

order that it need not respond to the motion.              After the parties

submitted their joint status report (in which TSI mentioned its

intent——opposed    by   Xtria——to    amend   to   assert    the   affirmative

defense and counterclaim now at issue), TSI filed the instant

motion for leave to file an amended answer to plaintiff’s amended

complaint and to assert a counterclaim for breach of contract.

Xtria opposes the motion.




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                                    II

     Motions for leave to amend are typically governed by Fed. R.

Civ. P. 15(a)(2) or, if the time to seek leave to amend has

expired, by Rule 16(b)(4) (to determine whether there is good cause

to modify the scheduling order) and then by Rule 15(a)(2). In this

case, however, the mandate rule also applies.            The mandate rule

requires this court on remand to implement both the letter and

spirit of the Fifth Circuit’s mandate, and it precludes the court

from disregarding the explicit directives of the Fifth Circuit.

See United States v. Becerra, 155 F.3d 740, 753 (5th Cir. 1998),

abrogated on other grounds as recognized in United States v.

Farias, 481 F.3d 289, 291-92 (5th Cir. 2007).           “The mandate rule

simply embodies the proposition that a district court is not free

to deviate from the appellate court’s mandate.”             Id. (internal

quotation marks and citations omitted).        Thus this court can only

permit TSI to amend its answer to the extent consistent with the

Fifth Circuit’s mandate.

                                   III

     The court first considers TSI’s request to add the affirmative

defense of release.      The mandate requires this court to conduct

further proceedings in accordance with the circuit court’s opinion.

The opinion, in turn, directs this court to conduct proceedings on

“the issues of breach [of the Settlement Agreement] and damages.”

Xtria III, 345 Fed. Appx. at 944.        To conduct further proceedings


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on the issue of breach of the Settlement Agreement, the court must

address the merits of Xtria’s breach of contract claim.                   To

properly resolve that claim on the merits, the court must consider

both Xtria’s breach of contract claim and TSI’s corresponding

defenses that existed at the time of the appeal.             This includes

TSI’s release defense, which the court allowed by trial amendment

(although it did not reach the defense in rendering its trial

ruling).

     Xtria maintains that the release defense, raised at trial and

in both parties’ appellate briefs, has already been litigated and

implicitly rejected.    The court disagrees.        That the Fifth Circuit

did not address the defense in its opinion does not mean that it

resolved the issue (or resolved it adversely to TSI).           To reverse

and remand this court’s bench-trial ruling, it was only necessary

for the Fifth Circuit to hold that the Settlement Agreement was

unambiguous and that Xtria had correctly interpreted how the

agreement   regulated   TSI’s   responsibility       for   IIAI’s   conduct.

Nothing in the Fifth Circuit opinion indicates that the panel also

disposed of TSI’s affirmative defense of release.               “A mandate

controls on all matters within its scope, but a district court on

remand is free to pass upon any issue which was not expressly or

impliedly disposed of on appeal.”         Newwball v. Offshore Logistics

Int’l, 803 F.2d 821, 826 (5th Cir. 1986) (allowing district court

to address issues not addressed by appellate court). Because TSI’s


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request to add the affirmative defense of release is not precluded

by the mandate rule, and since the court allowed TSI to assert the

defense by trial amendment during trial, the court grants TSI leave

to amend its answer to plead this defense.

     Xtria also maintains that adding the affirmative defense is

futile.   “‘If a proposed amendment is not clearly futile, then

denial of leave to amend is improper.’”             Moore v. Dallas Indep.

Sch. Dist., 557 F.Supp.2d 755, 759 (N.D. Tex. 2008) (Fitzwater,

C.J.) (emphasis in original) (citing 6 Charles Alan Wright, et al.,

Federal Practice and Procedure, § 1487, at 637 (2d ed. 1990)),

aff’d, 2010 WL 1141540 (5th Cir. Mar. 12, 2010). Xtria argues that

a Texas court has rejected the theory that plaintiffs cannot sue to

enforce a settlement agreement’s covenant not to sue.           See McMahan

v. Greenwood, 108 S.W.3d 467, 485 (Tex. App. 2003, pet. denied)

(noting release could not preclude claim for breach of release

itself, but finding claim waived on other grounds).                 But the

proposition Xtria cites in McMahan is dicta, and Xtria provides no

further argument regarding the futility of the defense.            The court

holds that Xtria has failed to demonstrate that TSI’s affirmative

defense of release is clearly futile.

     The court therefore grants TSI leave to amend its answer to

add the affirmative defense of release.




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                                    IV

       The court considers next whether to allow TSI to amend to

assert a counterclaim for breach of contract.           For the following

reasons, it declines to allow TSI to do so.

       First, as noted, the mandate rule limits the scope of the

proceedings in this court.        The Fifth Circuit’s opinion directs

that the court on remand conduct “further proceedings on the issues

of breach and damages.”     Xtria III, 345 Fed. Appx. at 944.        Adding

a new counterclaim would exceed the scope of the mandate because

the issue of TSI’s breach of the Settlement Agreement does not

require (or involve) a determination of whether Xtria breached the

Settlement Agreement.

       Second, TSI’s request to plead a counterclaim for the first

time after the adjudication of substantive motions, the conclusion

of the trial, and the appeal following trial comes too late.             TSI

asserts that Xtria breached the Settlement Agreement by filing this

lawsuit in January 2007, more than three years ago.              The court

recognizes that TSI maintains that the merits of this counterclaim

were   dependent   on   Xtria’s   interpretation      of   the   Settlement

Agreement——i.e., if it is assumed that Xtria’s interpretation

(which this court rejected in Xtria II) is correct, then Xtria also

breached the contract by its own conduct in filing suit.            But TSI

could have asserted this counterclaim at a much earlier stage in

the litigation rather than waiting until after the adjudication of


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substantive motions, a trial, and an appeal.           And if TSI did not

think the counterclaim had relevance due to its own view of the

merits, it could have pleaded the counterclaim in the alternative,

and well before the post-appeal stage of the case.

     The court therefore declines to grant TSI leave to amend its

answer to add a counterclaim for breach of contract.

                             *       *      *

     Accordingly, TSI’s January 19, 2010 motion for leave to file

amended answer to plaintiff’s amended complaint and to assert

counterclaim for breach of contract is granted in part and denied

in part.   TSI must file its amended answer within 14 calendar days

of the date this memorandum opinion and order is filed.

     SO ORDERED.

     April 16, 2010.



                                  _________________________________
                                  SIDNEY A. FITZWATER
                                  CHIEF JUDGE




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